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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                           EASTERN DIVISION

ALDRIC L. BUCKNER,                        )
                                          )
             Plaintiff,                   )
                                          )
      v.                                  )     CASE NO. 3:18-CV-610-WKW
                                          )
BENJAMIN WHITLEY,                         )
                                          )
             Defendant.                   )

                                        ORDER

      Upon consideration of the parties’ Joint Stipulation of Dismissal (Doc. # 22),

which comports with Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,

this action has been dismissed with prejudice by operation of Rule 41, on the terms

agreed to and set out by the parties.

      The Clerk of the Court is DIRECTED to close this case.

      DONE this 23rd day of April, 2019.

                                             /s/ W. Keith Watkins
                                        UNITED STATES DISTRICT JUDGE
